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IN THE UNITED sTATEs DISTRICT COURT
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 AUG 21ll AHH, 50

ROBERT E. (“BOB”) GIVEN,

R.J.R. PAINTING,

Plaintiff,

VS.

R & R MANAGEMENT,

Defendant.

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WESTERN DIVISION

H@MW{{§LU)

   

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ORDER GRANTING DEFENDANT'S MOTION FOR LEAVE TO FILE REPLY

 

For good cause ehown, Defendant'S Motion for Leave to File a

Reply is GRANTED.
August 31, 2005.

IT IS SO ORDERED.

The Defendants are to file a reply no later than

/L/\/

TI`J' M. PHAM
United States Magistrate Judge

 

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Date

Thls document entered cm the docket gear in compliance

Wrtr~. mrs 53 and/cr 79{5) FHCP on ’ 5 -Q§'/

 

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This notice confirms a copy of the document docketed as number 24 in
case 2:05-CV-02136 Was distributed by faX, rnail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

